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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 DINA WINGER, individually and on behalf
 of all others similarly situated,
                                                      Civil Action No. 3:24-cv-1797-E
                               Plaintiff,

                v.

 AT&T, Inc.,

                               Defendant.


                                NOTICE OF RELATED CASE

       Plaintiff Dina Winger hereby notifies the Court that, after the commencement of her action,

another case that is related to the Winger action was filed in the United States District Court for

the Northern District of Texas, Dallas Division, within the meaning of Civil Rule 3.3. The new

related case is entitled: Debbie Hale and Nick Margeas, individually and on behalf of all others

similarly situated v. AT&T Inc, Civil Action No. 3:24-cv-01943 (N.D. Tex.).

Dated: August 1, 2024                            Respectfully Submitted,

 GEORGE FELDMAN McDONALD, PLLC                    FOSTER YARBOROUGH PLLC

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                              CERTIFICATE OF SERVICE

       This is to certify that on August 1, 2024, a true and correct copy of the foregoing has been
served via the court’s electronic case filing system and via e-mail upon all counsel of record.

                                                     /s/ Patrick Yarborough
                                                     Patrick Yarborough
